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                      UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                 Eastern Division

Glenn Matlock
                                          Plaintiff,
v.                                                          Case No.: 1:16−cv−07361
                                                            Honorable Gary Feinerman
Speedy Transportation, Inc., et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 12, 2017:


        MINUTE entry before the Honorable Gary Feinerman:The parties have filed a
stipulation of dismissal [42], the terms of which are set forth therein. Status hearing set for
6/13/2017 [40] is stricken. Civil case closed.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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